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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101(01) LEK
 CASE NAME:              United States v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi

       DATE:       08/06/2019


COURT ACTION: EO: COURT ORDER GRANTING STANDBY COUNSEL’S
MOTION FOR STATUS CONFERENCE

       On July 27, 2019, Lars Isaacson, Esq., stand-by counsel for pro se Defendant
Anthony T. Williams (“A. Williams”), filed his Motion for Status Conference (“Motion”).
[Dkt. no. 534.] Mr. Isaacson’s Motion is HEREBY GRANTED.

       A. Williams and all counsel are ORDERED to appear at a status conference on
August 29, 2019, at 10:00 a.m., to discuss deadlines for: 1) the designation of expert
witnesses; 2) the identification of lay witnesses; and 3) the exchange of exhibits. Counsel
for Defendant Anabel Cabebe and counsel for Defendant Barbara Williams will be
permitted to leave after the discussion of deadlines.

       A. Williams, Mr. Isaacson, and counsel for Plaintiff the United States of America
(“the Government”) will remain to address: a) the remaining issues identified in
Mr. Isaacson’s Motion; and b) whether the Government has fully complied with this
Court’s July 30, 2019 entering order, [dkt. no. 535]. The Court notes that, on August 5,
2019, the Government filed a Notice of Compliance with Order. [Dkt. no. 537.]

       IT IS SO ORDERED.




Submitted by: Theresa Lam, Courtroom Manager
